              Case 3:11-cr-05524-H                   Document 235                Filed 02/05/13                   PageID.1063          Page 1 of 4
      ~o 245B (CASD) (Rev, 12I1l) Judgment in a Criminal Case
                Sheet I



                                               UNITED STATES DISTRICT COURT                                                            t 3FEB - 5 PH 2: 30
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                                 .     ..    ,~   .   .
                                                                                                                                  ",~"
                                                                                                                                     ... ,.
                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CA' ,.,.
                                         v.                                         (For Offenses Committed On or After Nove~b                1, 1987)
                                                                                                                                                                CE"!!T v
                          GIL REYES-CRUZ (1)                                        Case Number: l1CR5524-H
                 also known as: Juan; also known as: Negro
                                                                                    Marc Xavier Carlos
                                                                                    Defendant"s Attorney
     REGISTRATION NO. 61886-112

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) _2_,_3_,a_n_d_6_0_f_th_e_In_d_ic_tm_en_t_,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                               Count
     Title & Section                          Nature of Offense                                                                               Number(s)
8 USC 1324(a)(2)(B)(ii);              BRINGING IN ILLEGAL ALIENS FOR FINANCIAL GAIN                                                           2,3,6
18 USC 2




         The defendant is sentenced as provided in pages 2 through     4     of this judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.
  o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  ~ Count(s) remaining in the Indictment                                              is   0        arel8l dismissed on the motion of the United States.
  ~ Assessment: $300.00 ($100.00 per count).


  ~ Fine waived                                      181 Forfeiture pursuant to order filed            January 8, 2013          , included herein.
        IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                                FEBRUARY 4,2013

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                                                                                               ,,
                                                                                                           L~J ./
                                                                                                         f Sentence



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         Case 3:11-cr-05524-H                   Document 235        Filed 02/05/13      PageID.1064           Page 2 of 4
AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 2 -Imprisonment

                                                                                            Judgment   Page    2     of       4
 DEFENDANT: GIL REYES-CRUZ (I)
 CASE NUMBER: 11 CR5524~H
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         COUNT 2: 48 MONTHS.
         COUNT 3: 48 MONTHS TO RUN CONCURRENT WITH COUNTS 2 AND 6.
         COUNT 6: 48 MONTHS TO RUN CONCURRENT WITH COUNTS 2 AND 3.

    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau ofPrisons:
         The Court recommends placement in the Western Region.




     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                    Da.m.    Dp·m.    on _ _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before  ------~---------------------------------------------------------
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                              RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at ______________ , with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                    BY_~~_
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                          llCR5524-H
            Case 3:11-cr-05524-H                  Document 235               Filed 02/05/13            PageID.1065             Page 3 of 4
AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                               Judgment-Page        3      of        4
DEFENDANT: GIL REYES-CRUZ (1)                                                                          D
CASE NUMBER: llCR5514-H
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shal1 be on supervised release for a term of:
COUNT 2: 3 YEARS. COUNT 3: 3 YEARS TO RUN CONCURRENT WITH COUNTS 2 AND 6.
COUNT 6: 3 YEARS TO RUN CONCURRENT WITH COUNTS 2 AND 3.
         The defendant shaH report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shal1 not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shaH refrain from any unlawful use of a control1ed
substance. The defendant shal1 submit to one drug test within IS days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

o The  above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
   future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 The defendant shall cooperate in the col1ection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
    Backlog Elimination Act of 2000,'pUTSuant to 18 USC sections 3j63(a)(7) and 3583(d).
o       The detendant shall comply with the requirements ofthe Sex Offender'Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifYing offense. (Check if applicable.)
o       The defendant shaH participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shaH also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
   I)    the defendant shaH not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfuHy all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shaH support his or her dependents and meet other family responsibilities;
   5)     the defendant shalJ work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shaH notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shaH refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controHed substance or any paraphernalia related to any control1ed substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shaH permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  II)     the defendant shall notifY the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shaH permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                             llCR5514-H
               Case 3:11-cr-05524-H                  Document 235        Filed 02/05/13          PageID.1066             Page 4 of 4
       AD 245B (CASD) (Rev. 12/11 Judgment in a Criminal Case
                  Shee14 - Special Conditions
                                                                                                         Judgment-Page   --L- of _-.,;4~_ _
       DEFENDANT: GIL REYES-CRUZ (1)                                                               D
       CASE NUMBER: llCRSS24-H




                                            SPECIAL CONDITIONS OF SUPERVISION
~ Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

~ If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
  officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o   Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
o   Report all vehicles owned or operated. or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

o   Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the presentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
    release of information between the probation officer and the treatment provider. May be required to contribute to the costs of services
    rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
o   Seek and maintain full time employment and/or schooling or a combination of both.
o   Resolve all outstanding warrants within               days.
o   Complete           hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

o   Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




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